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               IN THE UNITED STATES COURT OF APPEALS
                       FOR THE FIFTH CIRCUIT



Defense Distributed; Second Amendment Foundation,
Incorporated,
                  Intervenor Plaintiffs-Appellees,

                 v.
                                                                          No. 23-10463
Merrick Garland, U.S. Attorney General, in his Official
capacity as Attorney General of the United States; United
States Department of Justice; Steven Dettelbach, in his official
capacity as Director of the Bureau of Alcohol, Tobacco,
Firearms and Explosives; Bureau of Alcohol, Tobacco,
Firearms, and Explosives,
                    Defendants-Appellants.

               MOTION TO VOLUNTARILY DISMISS APPEAL

       This appeal arises out of a preliminary injunction entered by the district court

in VanDerStok v. Garland, No. 4:22-cv-691 (N.D. Tex.). The district court has now

entered final judgment on the claims underlying the preliminary injunction. See D. Ct.

Dkt. No. 78.1 When the district court entered its final judgment on plaintiffs’ claims,

the preliminary injunctions that it previously entered on those claims dissolved. See,

e.g., Koppula v. Jaddou, 72 F.4th 83, 84 (5th Cir. 2023) (“[A]n appeal from the denial of a

preliminary injunction motion becomes moot when final judgment issues because the

district court’s denial of the motion merges with the final judgment.” (quotation


1
  The Supreme Court has since stayed the district court’s judgment “insofar as [it]
vacate[s]” the Rule pending the disposition of the government’s appeal from the final
judgment. See Garland v. VanDerStok, No. 23A82 (Aug. 8, 2023).
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omitted)); AcryliCon USA, LLC v. Silikal GmbH, 985 F.3d 1350, 1360 n.25 (11th Cir.

2021) (preliminary injunction “dissolved when the Court entered its final judgment”);

Burniac v. Wells Fargo Bank, N.A., 810 F.3D 429, 435 (6th Cir. 2016) (“[A] final order

on the merits extinguishes a preliminary injunction.”). Because the preliminary

injunctions have dissolved, these appeals from those injunctions are now moot, and

the government respectfully moves to dismiss these appeals pursuant to Federal Rule

of Federal Procedure 42(b), with each party to bear its own costs.

      The appellees in this appeal “consent to the relief ” requested in this motion—

that is, “an order dismissing the appeals”—but do not “agree with the stated

mootness premise.”2




2
  The government is filing concurrently with this motion a motion to voluntarily
dismiss its appeal in Nos. 22-11071 and 22-11086, two related appeals arising out of
preliminary injunctions granted in the same district court case. The appellees in No.
22-11071 do not oppose this motion. The appellee in No. 22-11086 opposes this
motion on the grounds that “the Supreme Court only stayed the district court’s June
30, 2023 order and July 5, 2023 judgment ‘insofar as they vacate the final rule’” and it
is appellee’s “position that the PI is or should remain in place during the pendency of
the Supreme Court’s stay.”
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                                      Respectfully submitted,

                                      ABBY C. WRIGHT

                                       /s/ Sean R. Janda
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August 2023




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                          CERTIFICATE OF SERVICE

      I hereby certify that on August 14, 2023, I electronically filed the foregoing

motion with the Clerk of the Court for the United States Court of Appeals for the

Fifth Circuit by using the appellate CM/ECF system. Participants in the cases are

registered CM/ECF users, and service will be accomplished by the appellate

CM/ECF system.

                                                 /s/ Sean R. Janda
                                                SEAN R. JANDA




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                       CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing complies with the type-volume limitation of

Fed. R. App. P. 27(d)(2) because it contains 361 words, according to the count of

Microsoft Word.


                                                  /s/ Sean R. Janda
                                                 Sean R. Janda




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